4:14-cr-03054-JMG-CRZ   Doc # 75   Filed: 03/25/15   Page 1 of 1 - Page ID # 243




             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:14CR3054
    vs.
                                                        ORDER
MAGALITA GELIN,
                Defendant.


    IT IS ORDERED that:

    1.    The defendant's unopposed Motion to Continue Sentencing
          Hearing (filing 74) is granted.

    2.    Defendant Magalita Gelin's sentencing is continued to May 8,
          2015, at 10:00 a.m., before the undersigned United States
          District Judge, in Courtroom No. 1, Robert V. Denney United
          States Courthouse and Federal Building, 100 Centennial Mall
          North, Lincoln, Nebraska. The defendant shall be present at the
          hearing.

    Dated this 25th day of March, 2015.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
